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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


CLEVE MILLER,

      Plaintiff,

v.                                          Case No.:

DELACY FARM SOD INC,

      Defendant.

                                      /

              COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff, CLEVE MILLER (“Mr. Miller”), by and through

the undersigned attorney of record, and files this Complaint and Demand for Jury

Trial against Defendant, DELACY FARM SOD, INC., (“DeLacy”), and alleges:

                            NATURE OF ACTION

      1.    This is an action for violations of the Fair Labor Standards Act, 29

U.S.C. §§201 et seq. (“FLSA”) and §440.205, Florida Statutes (“Ch. 440, F.S.”).

                        JURISDICTION AND VENUE

      2.    The Court has jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. §§ 1331.

      3.    This is an action involving claims which are, individually, in excess of

Seventy-Five Thousand Dollars ($75,000), exclusive of costs and interests.
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      4.    Venue is proper because Plaintiff was an employee of Defendant in

Gadsden County, Florida and Defendant’s business is located in Gadsden County,

Florida.

                                 THE PARTIES

      5.    At all times material to this Complaint, Mr. Miller was an employee

of DeLacy within the meaning of the FLSA and Ch. 440, F.S.

      6.    At all times material to this Complaint, DeLacy was a Florida

Corporation with its principal place of business in Gadsden County, Florida and

engaging in business in Gadsden County, Florida.

      7.    DeLacy is an “employer” as defined by 29 U.S.C. §203 and §440.02,

Florida Statutes. Furthermore, DeLacy has employees subject to the provisions of

the FLSA, 29 U.S.C. §§201 et seq. and Ch. 440, F.S.

      8.     At all times material to this Complaint, DeLacy regularly used the

instrumentalities of interstate commerce and channels of interstate commerce while

operating its business. Including engaging in the production of goods or services

for commerce, or employed individuals to handle, sell, or otherwise work on goods

or materials that have been moved in or produced for commerce.

      9.    At all times material to this Complaint, DeLacy had an annual gross

volume of sales made or business done of not less than $500,000.




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                          FACTUAL ALLEGATIONS

      10.    Mr. Miller began working for Defendant full-time as a Laborer in or

around 2013 and was paid on an hourly basis for his services.

      11.    During the entirety of Mr. Miller’s employment, he was compensated

at the same hourly rate for all of the work he performed for Defendant, regardless

of the total number of hours worked in a given workweek. Mr. Miller routinely

worked in excess of 40 hours per week for Defendant, but never received overtime

pay from the company.

      12.    Mr. Miller raised the issue of overtime pay to Defendant’s owner,

John Pat Pickles, and was told that the company does not pay overtime and that if

employees demand overtime pay he would simply cut their hours. Mr. Miller’s

most recent complaint to Defendant concerning the lack of overtime pay was

shortly before his termination.

      13.    Mr. Miller’s regular job duties were physically intensive and required

a large amount of lifting, bending, squatting, and carrying heavy objects or

supplies. Over the course of his employment, Mr. Miller began developing back

and knee problems.

      14.    Mr. Miller eventually sought medical treatment in Spring 2019 from

multiple providers for his back and knees. Mr. Miller was prescribed medications




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to relieve the pain and was referred to a specialist to more closely examine his back

and knees in June 2019.

      15.    As a result of Mr. Miller’s medical treatment, the physicians placed

him on light duty for work so as not to exacerbate his injuries as the physicians felt

that the injuries were a result of the years of physically demanding work he

performed with Defendant.

      16.    Mr. Miller informed John Pat Pickles of his medical treatment, his

work restrictions, and the fact that the cause of the injury may be related to the

work he performed with Defendant. Mr. Pickles expressed his displeasure with this

diagnosis during this conversation.

      17.    On June 17, 2019, shortly after Mr. Miller informed John Pat Pickles

of these facts, Defendant terminated Mr. Miller’s employment with the company.

       COUNT I: Violations of the Fair Labor Standard Act (Overtime)

      18.    Plaintiff realleges the allegations of paragraphs 1-17 above and

incorporates them herein by reference.

      19.    Defendant repeatedly and willfully violated the provisions of §§207

and 215(a)(2) of the FLSA by employing Plaintiff for workweeks longer than 40

hours without compensating him for employment in excess of such hours at rates

not less than one-half times the regular rates at which he was employed.




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      20.    By reason of Defendant’s willful violations of the FLSA, Plaintiff is

entitled to recover all amounts provided by the FLSA including: unpaid overtime

compensation, and an additional equal amount as liquidated damages; attorney’s

fees and costs; and any other remedy this Court deems appropriate.

      COUNT II: Violations of the Fair Labor Standard Act (Retaliation)

      21.    Plaintiff realleges the allegations of paragraphs 1-20 above and

incorporates them herein by reference.

      22.    Following Plaintiff engaging in a protected activity, by making

complaints about Defendant’s violations of the FLSA as detailed above, Defendant

retaliated against Plaintiff by terminating his employment.

      23.    By reason of Defendant’s willful violation of §215(a)(3) of the FLSA,

Plaintiff is entitled to recover all amounts provided by the FLSA including: lost

wages and benefits, and an additional equal amount as liquidated damages;

compensatory damages; attorney’s fees and costs; and any other remedy this Court

deems appropriate.

      COUNT III: Workers’ Compensation Retaliation (§440.205, F.S.)

      24.    Plaintiff realleges the allegations of paragraphs 1-23 above and

incorporates them herein by reference.

      25.    Plaintiff was employed with Defendants when he was injured during

the course and scope of his employment. Plaintiff sought and/or attempted to seek



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benefits including, but not limited to, medical care through Defendant’s workers’

compensation insurance and was retaliated against for attempting to secure benefits

under Florida’s Workers’ Compensation Law.

      26.    Defendant’s actions violate §440.205, Florida Statutes, which

prohibits an employer, such as Defendant, from discharging, threatening to

discharge, intimidating, or coercing any employee by reason of such employee’s

valid claim for compensation or attempt to claim compensation under the state’s

Workers’ Compensation Law.

      27.    As a direct and proximate result of Defendant’s intentional conduct,

Plaintiff has suffered emotional distress, mental pain and suffering, past and future

pecuniary losses, loss of enjoyment of life and other non-pecuniary losses, along

with lost back and front pay, interest, and other tangible and intangible damages.

These damages have occurred in the past and are permanent and continuing.

         PRAYER FOR RELIEF AND DEMAND FOR JURY TRIAL

      WHEREFORE, Plaintiff demands a trial by jury on all issues herein that are

so triable and demands judgment against Defendant for the following:

      (a) that process be issued, and this Court take jurisdiction over this case;

      (b) that this Court grant equitable relief against Defendant under the

      applicable counts set forth above, and any other equitable relief

      available to Plaintiff;



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(c) enter judgment against Defendant and for Plaintiff awarding all

legally-available general, liquidated and compensatory damages and

economic loss to Plaintiff from Defendant’s violations of law enumerated

herein;

(d) enter judgment against Defendant and award Plaintiff attorney’s fees and

costs;

(e) award Plaintiff interest where appropriate; and

(f) grant such other further relief as being just and proper under the

circumstances.

                    Respectfully submitted this 14th day of January 2020.

                          /s/ Matthew D. MacNamara
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